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                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,       )       Crim. No. 07-00301 HG-002
                                )
               Plaintiff,       )
                                )
          vs.                   )
                                )
MARIANITO LAGUATAN,             )
                                )
               Defendant.       )
_______________________________ )


  ORDER GRANTING MOTION FOR REDUCTION OF SENTENCE PURSUANT TO
      RULE 35(b) OF THE FEDERAL RULES OF CRIMINAL PROCEDURE

       On October 26, 2007, Defendant Marianito Laguatan

(“Defendant”) pled guilty, pursuant to a plea agreement, to

attempted possession of 50 grams or more of methamphetamine with

the intent to distribute, in violation of 21 U.S.C. §§ 846,

841(a)(1) and (b)(1)(A) (the single Count of the conviction).

(ECF No. 81.) On February 20, 2008, Defendant was sentenced to 70

months imprisonment. (ECF No. 78.) The Court also imposed a five

year term of supervised release and a fine of $5,000. (ECF No.

109.) Judgment was entered on March 6, 2008. (ECF No. 83.)

       On March 2, 2009, the Government filed an Amended Protective

Motion for Reduction of Sentence Pursuant to Federal Rules of

Criminal Procedure (“Fed. R. Crim. P.”), Rule 35(b). (ECF No.

95.)   The Motion explained that Defendant provided information

that led to wiretap orders that assisted government authorities

in the seizure of drugs and identification of individuals
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involved in drug trafficking. (Id. at 2.)              The Government filed

the protective Rule 35 Motion because the investigation was

ongoing and the Defendant would potentially testify in the

future. (Id.)

     On June 17, 2013, the Government filed its Motion for

Reduction of Sentence Pursuant to Fed. R. Crim. P. Rule 35(b).

(ECF No. 109.)    The Defendant cooperated with the United States

in the preparation for the trial of Reynaldo Agudo (United States

v. Reynaldo Agudo, Cr. No. 11-00382 LEK-06) and testified at

trial on May 7, 2013. (Id. at 2.) The Defendant’s testimony

assisted in the prosecution of Agudo for conspiracy to distribute

fifty grams or more of methamphetamine on Maui. (Id.)

     Defendant has served his sentence of imprisonment. (Id.) He

is currently in the custody of Immigration and Customs

Enforcement pending removal proceedings. (Id.) The Government

requests that the Court reduce Defendant’s sentence, pursuant to

Rule 35(b) of the Fed. R. Crim. P., by remitting the $5,000 fine.

(Id.)

                           STANDARD OF REVIEW

Federal Rules of Criminal Procedure Rule 35(b)(1)provides:

     (1) In General. Upon the government’s motion made within one
     year of sentencing, the court may reduce a sentence if the
     defendant, after sentencing, provided substantial assistance
     in investigating or prosecuting another person.
Federal Rules of Criminal Procedure Rule 35(b)(2)(B) provides:

     (2) Later Motion. Upon the government’s motion made

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     more than one year after sentencing, the court may
     reduce a sentence if the defendant’s substantial
     assistance involved:

     . . .

          (B) information provided by the defendant to the
     government within one year of sentencing, but which did
     not become useful to the government until more than one
     year after sentencing; . . . .


     A Rule 35 motion is essentially a plea for leniency and is

addressed to the sound discretion of the district court.                 United

States v. Smith, 964 F.2d 885, 887 (9th Cir. 1992); United States

v. Hooton, 693 F.2d 857, 859 (9th Cir. 1982).

     A district court may consider the 18 U.S.C. § 3553(a)

factors to award a sentence reduction greater than, less than, or

equal to the reduction of the defendant’s assistance considered

alone, would warrant. See United States v. Tadio, 663 F.3d 1042,

1055 (9th Cir. 2011).

                                ANALYSIS

     The Court finds that Defendant substantially assisted the

Government in the investigation and prosecution of criminal

activity. A reduction of Defendant’s sentence pursuant to Rule 35

(b) is appropriate. The Court grants remittance of the $5,000

fine, based on the nature of the cooperation and consideration of

the 18 U.S.C. § 3553(a) factors.

                               CONCLUSION

     The Government’s Motion to reduce Defendant’s sentence is


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GRANTED. The Court reduces the Defendant’s sentence by remitting

the $5,000 fine. All other aspects of the Defendant’s sentence

remain unchanged.

     IT IS SO ORDERED.

     Dated: Honolulu, Hawaii, July 8, 2013.




                                                        /S/ Helen Gillmor
                                  Helen Gillmor
                                  United States District Judge




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HG-002; ORDER GRANTING GOVERNMENT’S MOTION FOR REDUCTION OF
SENTENCE FOR SUBSTANTIAL ASSISTANCE




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